Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 1 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 2 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 3 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 4 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 5 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 6 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 7 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 8 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
Case 1:20-cv-04651-SDG Document 7-1 Filed 11/18/20 Page 9 of 9




                        Ex. Q to TRO Motion:
                         Ramsland Affidavit
